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            UNITED STATES DISTRICT COURT SOUTHERN DISTRICT
                       OF OHIO EASTERN DIVISION


AMERICAN FREIGHT LLC,                         Civil Action No. 2:21-CV-01922

                  Plaintiff,                  Judge Michael H. Watson

                     v.                       Magistrate Judge Elizabeth Preston
                                              Deavers
SURPLUS FREIGHT, LLC,
SURPLUS FREIGHT INC.,
STAGE CAPITAL, LLC,
ASAPH RINK, and DAVID BELFORD,

                  Defendants.

AMERICAN FREIGHT LLC,                         Civil Action No. 2:21-CV-01922
                                              (formerly 2:21-CV-02136)
                  Plaintiff,
                                              Judge Michael H. Watson
                     v.
                                              Magistrate Judge Elizabeth Preston
JOEL CADY and                                 Deavers
HARIS BULJINA,

                  Defendants.


PLAINTIFF AMERICAN FREIGHT, LLC’S MEMORANDUM OF LAW IN OPPOSITION
          TO DEFENDANT DAVID BELFORD’S MOTION TO DISMISS
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                                       PRELIMINARY STATEMENT1

         In the Motion, Belford, a former member of the board of directors of plaintiff American Freight

and the brother of the Company’s founder, argues that even though American Freight granted him

millions of dollars’ worth of options in exchange for agreeing to be bound by certain restrictive

covenants (including non-compete, confidentiality, and non-solicitation covenants) set forth in his

Option Agreement, and even though he received almost $15 million from American Freight in full

satisfaction of his right to receive those options, American Freight released him from all of his

obligations for no consideration at all and waived all of its contractual rights as part of an Option

Cancellation Agreement that terminated Belford’s option rights—not American Freight’s rights.

Belford’s argument is outrageous on its face. The restrictive covenants he claims were casually tossed

aside were critically important to American Freight—as demonstrated by American Freight’s

insistence that Belford and his co-defendant, Asaph Rink, another high ranking American Freight

executive, be subject to restrictive covenants in connection with their departures from the Company.

Nevertheless, Belford argues that American Freight simply gave up its contractual protections

prohibiting him from: (i) opening a competing discount furniture retailer in the same locations as

American Freight, (ii) misappropriating American Freight’s trade secrets and confidential information

and using them to compete against it, and (iii) overseeing a secret campaign to poach American

Freight’s most experienced employees.

         Belford’s argument fails as a matter of law, contract, and common sense. The Option

Cancellation Agreement, by its terms, terminated Belford’s rights—including his right to receive

options, under the Option Agreement—but it did not terminate or otherwise release Belford from his



1
  Although Plaintiff American Freight, LLC disagrees with Defendants’ suggestion that it is not a correct plaintiff in this
proceeding, Plaintiff has nevertheless amended its complaint to add its affiliate American Freight Group, LLC, as an
additional plaintiff. American Freight Group, LLC is the successor entity of American Freight Group, Inc. Therefore, the
point is now moot. Citations to the complaint herein are to the original complaint that Belford moved on (Dkt. No. 1), but
the paragraph numbering is the same across both the original and amended complaints (Dkt. No. 35).
                                                            1
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obligations to American Freight under that agreement, nor did it waive any of American Freight’s

rights. Nor would it have made sense for American Freight to have done so. The restrictive covenants

to which Belford agreed were a critical part of the bargain struck between the parties. Having

performed in full (by virtue of paying Belford almost $15 million for his options), American Freight

never would have agreed to waive its rights to Belford’s continued performance, thereby relinquishing

all of its bargained-for protections, for no consideration at all. Nor did it do so. To grant Belford’s

Motion, the Court would not only have to overlook the well-pled allegations of the Complaint, but it

would also have to find—without the benefit of any evidentiary record—that the Option Cancellation

Agreement—the language of which even Belford argues is, at best, ambiguous—should be construed

to waive all of American Freight’s rights (and Belford’s obligations) under the Option Agreement.

This would require the Court to ignore accepted canons of contractual interpretation as well as

common sense. The Court should reject Belford’s arguments and deny the Motion.

       Belford’s other arguments in support of the Motion are similarly unavailing. First, the motion

to dismiss Plaintiff’s claim for tortious interference should be denied because the Complaint’s

well-pled allegations are plainly sufficient and because the “fair competition” affirmative defense that

Belford invokes requires a fact-intensive inquiry that is wholly inappropriate to assert on a motion to

dismiss, where all well-pled allegations must be taken as true. Second, although Belford argues that

Plaintiff’s unjust enrichment claim should be dismissed because it is duplicative of Plaintiff’s breach

of contract claim, pleading in the alternative is clearly permitted under Fed. R. Civ. P. 8, and there is

no basis to dismiss the claim at this early stage in the proceedings. In any event, Belford also argues

that the Option Agreement was terminated and is no longer of any legal effect, which is an additional

reason not to dismiss Plaintiff’s alternative unjust enrichment claim. Third, in a now familiar pattern,

Belford’s argument that Plaintiff has failed to plead claims under OUTSA and DTSA again ignores

the well-pled allegations of the Complaint and relies on unsupported factual assertions that purport to


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contradict those allegations, which is plainly improper on a motion to dismiss. Accordingly, the Court

should deny the Motion in full.

       Relatedly, it makes little sense for the Court to hold a separate hearing on Belford’s Motion

before the scheduled preliminary injunction hearing. The issues raised in the Motion are intertwined

with the issues American Freight raised in its motion for injunctive relief, and the Court should have

the benefit of a full record before addressing the merits of the claims. Further, it would be inefficient

to hear the Motion separately because claims against all the other defendants would remain pending.

                                     STATEMENT OF FACTS

       American Freight is a furniture and mattress retailer. (Compl. ¶ 26.) Defendant Belford served

as a director on American Freight’s board for about three years from 2014 through 2017. (Compl.

¶¶ 36-37, 58.) Belford’s position on the board gave him access to the inner workings of American

Freight: its strategies, business plans, personnel information, and various other types of confidential

and commercially sensitive information. (See, e.g., Compl. ¶ 37.)

       American Freight granted Belford stock options in January 2015 pursuant to an option

agreement (the “Option Agreement”). (Compl. ¶ 39.) The Option Agreement, which is governed by

Delaware law, sets forth the rights and obligations of Belford and American Freight. (Compl. ¶¶ 39,

44.) As relevant to the Motion, the Option Agreement requires Belford to sell American Freight his

options upon the sale of American Freight, and it imposes certain restrictive covenants on him that

obligate him to, among other things, refrain from competing with Plaintiff or soliciting its customers

or employees for the time period that he holds any stock options and for two years thereafter. (Compl.

¶¶ 40-43.) By accepting the options American Freight granted him, Belford expressly “agree[d] to be

bound by the terms and conditions” of the Option Agreement, including the restrictive covenants.

(Compl. Ex. 2 at 1.)




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       In late 2019, American Freight was acquired (the “Merger”). (Compl. ¶ 45; Mot. Ex. 1 at 1.)

In connection with the Merger, American Freight repurchased all outstanding stock options. (Compl.

¶ 45.) To effect that repurchase, American Freight entered into the Option Cancellation Agreement

(the “OCA”) with Belford (as well as with other options holders) in early 2020. (Compl. ¶ 45; Mot.

Ex. 1 § 3.) American Freight paid Belford over $15 million in full satisfaction of his right to receive

options as set forth in the Option Agreement. (Compl. ¶ 45.) Thus, the purpose of the Option

Cancellation Agreement, as reflected in all of its terms, was to terminate Belford’s right to options

and to settle and release, once and for all, his rights and/or claims under the Option Agreement for

which he received almost $15 million. (Mot. Ex. 1 at 1) (“The purpose of this Agreement is to explain

how the Merger will affect your Options and to memorialize certain agreements and commitments on

your part in connection with the Merger and in consideration of the payments you will receive in

respect of the Options pursuant to the Merger.”)) (emphasis added). Section 1 of the OCA, which is

titled “Treatment of the Options in the Merger” and has a first sentence that expressly limits Section

1 by indicating that “the Merger will have the following effect on the Options you hold,” states in

relevant part, that “[a]t the Effective Time, your In-the-Money Options, whether vested or unvested, will

automatically be cancelled and converted into the right to receive the Per Option Merger Consideration and

your Option agreement shall be terminated, in full satisfaction of your rights as an Option

holder.” (Mot. Ex. 1 § 1) (emphasis added). In addition, pursuant to the OCA, Belford also broadly

released any claims against American Freight related to or arising from the options or his employment

generally. (Mot. Ex. 1 § 4.) Tellingly, however, the OCA contains no language waiving or releasing

any of American Freight’s rights under the Option Agreement, even though the termination language

Belford relies on extensively is clearly and expressly limited by its language to the termination of

Belford’s rights as an Option holder.




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        Mere months after the Merger closed in February 2020, Belford—in coordination with

American Freight’s former CEO, Asaph Rink, and the other former American Freight employees

named as defendants in this action—launched a massive campaign to open competing Surplus Freight

discount furniture stores near American Freight stores and began poaching American Freight

employees to run them in violation of Belford’s (and other employees’) non-competition and non-

solicitation obligations to the Company. (Compl. ¶¶ 5, 77.) Prior to this, Surplus Freight operated as

Surplus Furniture and Mattress Warehouse and only had 33 store locations in Canada and three more

in New York. (Compl. ¶ 27.) But after American Freight paid Belford millions to buy his Options in

the Merger, he reestablished Surplus Furniture and Mattress Warehouse as Surplus Freight, LLC and

now serves as its president and CEO. (Compl. ¶¶ 27, 45.) Under his leadership, Surplus Freight has

aggressively and rapidly expanded beyond Canada and New York. Since May 2020, Belford has

opened 19 new Surplus Freight stores in Virginia, Maryland, and North Carolina—all key markets for

American Freight—in breach of his restrictive covenants, and he plans to open at least 20 more stores

throughout the country in 2021. (Compl. ¶ 74.) As a former director of American Freight, Belford is

well-aware that American Freight employees are similarly bound by non-competition and non-

solicitation provisions. (Compl. ¶ 5.) Despite this, Belford hired co-defendants Rink, Buljina, and

Cady to work at Surplus Freight and assist with its expansion outside Canada and New York. (Compl.

¶¶ 4, 78, 80.)

        At Belford’s direction and control, these employees deliberately solicited numerous other

American Freight employees to defect to Surplus Freight. (Compl. ¶¶ 79, 81.) Since at least March

2021, co-defendants Buljina and Cady contacted numerous Company employees to recruit them to

join Surplus Freight. (Compl. ¶¶ 5, 79, 81-87.) Demonstrating that they were aware that the solicited

employees had non-competition and non-solicitation agreements, Defendants (incorrectly) instructed

these employees that they would need to get fired by American Freight in order to evade those


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obligations. (Compl. ¶¶ 79, 81, 86.) These departures have caused significant harm to the Company,

including business disruptions and decreased sales, among other things. (Compl. ¶¶ 89-94.)

       Belford’s misconduct goes well beyond Surplus Freight’s expansion and poaching campaign.

He and his co-defendants have also misappropriated the Company’s confidential information and

trade secrets to gain an improper competitive advantage over it. (Compl. ¶¶ 6, 106-07.) American

Freight takes commercially reasonable measures to protect such information, including the use of

confidentiality agreements, password-protected security and restricted access to its computer servers,

limiting access to sensitive information on a need-to-know basis, maintaining files in locked storage

and shredding documents, and other measures. (Compl. ¶ 103.) After his departure, Belford

wrongfully and knowingly received Company confidential information and trade secrets from Rink,

such as market research, financial information, merchandise and supply chain information, advertising

techniques and strategy, and has been using said information to build Surplus Freight. (Compl.

¶¶ 100-01, 105-07.)

       After learning of this misconduct, American Freight sent Belford a cease and desist letter on

April 8, 2021 to remind him of his obligations and demand that he stop his wrongdoing immediately.

(Compl. ¶ 96.) On April 16, 2021, Belford responded and did not deny that he was engaging in the

alleged conduct; rather, he claimed that the restrictive covenants had been terminated and were not

enforceable against him. (Compl. ¶¶ 97.) Accordingly, and based on the information discovered in

its ongoing investigation, American Freight initiated this lawsuit and sought injunctive relief against

Belford (and the other defendants) to enforce the restrictive covenants, for misappropriating and

infringing on American Freight’s intellectual property, for tortiously interfering with American

Freight’s contracts with its employees, and for unjustly enriching himself. (See, e.g., Compl. ¶¶ 137-

44, 154-61, 179-205, 228-38.)




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                                        LEGAL STANDARD

       Sixth Circuit precedent requires that courts deciding whether to grant a defendant’s motion

to dismiss must “construe the complaint in the light most favorable to the plaintiff, accept all factual

allegations as true, and determine whether the plaintiff undoubtedly can prove no set of facts in

support of [its] claims that would entitle [it] to relief.” In re DeLorean Motor Co., 991 F.2d 1236,

1240 (6th Cir. 1993) (reversing dismissal of plaintiff’s claims under Rule 12(b)(6)). This standard

is exacting: to prevail on his Motion, Belford must demonstrate “beyond doubt” that American

Freight is not entitled to relief on its claims. See, e.g., Pension Ben. Guar. Corp. v. Ferfolia Funeral

Homes Inc., 835 F. Supp. 2d 416, 418 (N.D. Ohio 2011). The Complaint need only assert “direct

or inferential allegations respecting all the material elements to sustain a recovery under some viable

legal theory.” In re DeLorean Motor Co., 991 F.2d at 1240. “A court evaluating a motion to dismiss

is generally limited to consideration of the complaint and any exhibits attached to the complaint,”

see Father Flanagan’s Boys Home v. Donlon, 449 F. Supp. 3d 739, 745 (S.D. Ohio 2020), and may

not credit defendants’ factual arguments at this stage. See, e.g., Mediacom Se. LLC v. BellSouth

Telecomms., Inc., 672 F.3d 396, 400 (6th Cir. 2012).

                                            ARGUMENT

 I.      THE COMPLAINT STATES A CLAIM FOR BREACH OF CONTRACT

         Delaware law governs Plaintiff’s breach of contract claims under Belford’s Option

 Agreement. (Compl. ¶ 44.) To state a claim for breach of contract under Delaware law, American

 Freight need only allege “[1] the existence of the contract, whether express or implied; [2] the

 breach of an obligation imposed by the contract; and [3] the resultant damage to the plaintiff.”

 VLIW Tech., LLC v. Hewlett-Packard Co., 840 A.2d 606, 612 (Del. 2003) (denying motion to

 dismiss breach of contract claim).         Plaintiff has unquestionably satisfied these pleading

 requirements: Plaintiff alleges that it entered into the Option Agreement with Belford (Compl.

 ¶ 39), that Belford breached the restrictive covenants thereunder (Compl. ¶¶ 75, 77), and that this
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 breach harmed American Freight. (Compl. ¶¶ 89-94.) This is more than sufficient to state a claim

 under Delaware law.

       Belford’s only argument for dismissing American Freight’s breach of contract claims rests

on his assertion of an affirmative defense: that a separate and later-in-time agreement, the OCA,

terminated the Option Agreement in full and released Belford from all of his obligations to

American Freight, including his non-competition and non-solicitation covenants. (Mot. at 5.) But,

even assuming that it is proper to entertain such an argument on a motion to dismiss, the plain

language of the OCA simply doesn’t say what Belford claims it does. Rather, by the plain language

of the OCA, Belford’s rights under the Option Agreement were terminated, but not his obligations.

Moreover, despite including a broad release by Belford of all of his rights and claims in connection

with his options and his employment by American Freight, the OCA is silent as to American

Freight’s rights under the Option Agreement and includes no waiver or release by American Freight

of any of its rights as against Belford. The unavoidable conclusion is that Belford’s obligations

under the Option Agreement, including his restrictive covenant obligations, remain intact and are

still enforceable against him. Thus, the Motion must be denied.

        A.      The OCA Did Not Terminate Belford’s Obligations or American Freight’s
                Rights Under the Option Agreement—The OCA Only Terminated Belford’s
                Rights Under the Option Agreement

       In the Motion, Belford acknowledges that contractual language must be read in the context of

the agreement as a whole and without placing undue emphasis upon particular words or phrases. (See

Mot. at 10.) Notwithstanding this, Belford’s argument relies on part of one clause in the OCA that is

taken out of the context and contradicts not only other language in the OCA, but also the intent and

purpose of the transaction it was drafted to effectuate. The language at issue reads:




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             1. Treatment of the Options2 in the Merger

             Subject to the provisions of the Merger Agreement, the Merger will have the
             following effect on the Options you hold: . . .

                    At the Effective Time [of the Merger], your In-the-Money Options,
                     whether vested or unvested, will automatically be cancelled and
                     converted into the right to receive the Per Option Merger Consideration
                     and your Option agreement shall be terminated, in full satisfaction of
                     your rights as an Option holder. . . .
(OCA, Section 1, emphasis added in the Motion.) Ignoring all of the language that surrounds it and

modifies its meaning, Belford argues that the phrase “your Option agreement shall be terminated”

simultaneously waived all of American Freight’s rights under the Option Agreement and released

Belford from all of his obligations to American Freight.

        Belford’s reading of this provision is wrong for several reasons. First, it ignores the rest of the

words in the provision at issue, which provide that the termination is in full satisfaction of Belford’s

rights, and impermissibly renders those words mere surplusage. Second, it contravenes settled law

requiring that one’s contractual rights may only be waived via express and unambiguous language.

Finally, it disregards the commercial context of the transaction and would lead to an absurd and

grossly unfair result.

        First, Belford’s proposed reading of that clause impermissibly ignores the rest of the provision,

which continues: “your Option agreement shall be terminated, in full satisfaction of your rights as

an Option holder.” The “in full satisfaction of your rights as an Option holder” language modifies

and limits the clause, “your Option agreement shall be terminated,” making clear that the termination

is being effected for a specific purpose—the satisfaction of Belford’s rights under the Option

Agreement—and not for all purposes. Belford’s proposed reading also ignores the title of Section 1

and the introductory sentence that make clear that the provision relates only to the treatment of



2
 “Options” is defined in the OCA’s second paragraph as “one or more options to purchase shares of common stock of the
Company [] granted to you under the 2015 Non-Qualified Stock Option Plan of the Company (the ‘Plan’).”
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Belford’s option rights upon the Merger being consummated. Belford’s argument would require the

Court to disregard this language, effectively rendering it meaningless in contravention of long settled

rules of contractual interpretation requiring that every word be given meaning.3 See, e.g., Palombo

Grp. v. Poughkeepsie City Sch. Dist., 3 N.Y.S.3d 390, 392 (App. Div. 2015) (“When interpreting a

contract, the construction arrived at should give fair meaning to all of the language employed by the

parties . . . .”). “[T]he [C]ourt may not read [an] agreement to make any of its terms meaningless, or

construe its language to render particular provisions mere surplusage.” Verzani v. Costco Wholesale

Corp., 641 F. Supp. 2d 291, 299 (S.D.N.Y. 2009); see also In re John E. Andrus Mem’l Home v. De

Buono, 688 N.Y.S.2d 687, 688 (App. Div. 1999) (“A contract should not be interpreted in such a way

as would leave one of its provisions substantially without force or effect.”). Tellingly, Belford offers

no explanation of why this clear constraining language should be ignored.

         Belford claims that American Freight “asks the Court to read the [so-called] residual clause

. . . to mean that the restrictive covenants survive the OCA.” (Mot. at 10-11.) But that puts the cart

before the horse. The plain reading of the provision is that the Option Agreement was terminated only

in satisfaction of Belford’s rights, not his obligations.4 Consequently, Belford’s obligations were

never terminated.

         Second, Belford’s proposed reading would require the Court to add language addressing

Belford’s obligations under the Option Agreement that is absent from the OCA. Had the parties

intended for the OCA to cancel Belford’s obligations under the Option Agreement as Belford claims,



3
  Delaware law governs the Option Agreement (Compl. Ex. 2 § 21(e)), and New York law governs the OCA (Mot. Ex. 1
§ 8.).
4
  Belford’s argument that the OCA lacks a “survival clause” preserving the restrictive covenants also fails because it is
based on comparing language in the OCA with language in a completely different agreement that Belford entered into
years earlier—the Agreement and General Release—and that the OCA does not even mention. (Mot. at 8-9.) On a motion
to dismiss, a court cannot look to extrinsic evidence, such as other contracts, to interpret the plain meaning of provisions
in the OCA. See, e.g., W.W.W. Assocs., Inc. v. Giancontieri, 566 N.E.2d 639, 642 (N.Y. 1990) (“A familiar and eminently
sensible proposition of law is that, when parties set down their agreement in a clear, complete document, their writing
should as a rule be enforced according to its terms. Evidence outside the four corners of the document as to what was
really intended but unstated or misstated is generally inadmissible to add to or vary the writing.”).
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the parties would have expressly stated that the restrictive covenants were terminated or, at a

minimum, the language at issue would either (i) omit the qualifier “in full satisfaction of [his] rights

as an Option holder” from the provision, as noted above, or (ii) expressly provide that the OCA

terminates Belford’s Option agreement “in full satisfaction of [his] rights as an Option holder and his

obligations.” The provision does neither. New York law provides that “[a] court may not rewrite

into a contract conditions the parties did not insert by adding or excising terms under the guise of

construction.” Slamow v. Del Col, 571 N.Y.S.2d 335, 336 (App. Div. 1991), aff’d, 594 N.E.2d 918

(N.Y. 1992). Because the OCA expressly terminates only Belford’s option rights under the prior

Option Agreement and is silent as to his obligations, the Court should reject Belford’s claim that the

OCA terminates Belford’s obligations as well.

       Third, courts should strive to “harmonize” all the provisions in contracts when interpreting

them. See Guar. Tr. Co. of N.Y. v. Mexican Petroleum Co., 245 F. 901, 903 (S.D.N.Y. 1917) (“It is,

of course, an[] elementary principle of the construction of written instruments that their various

clauses should be harmonized, if possible, and the courts seek to avoid a construction which will

nullify or render inconsistent one clause or provision with or as against another.”); see also HTRF

Ventures, LLC v. Permasteelisa N. Am. Corp., 141 N.Y.S.3d 17, 26 (App. Div. 2021) (“[C]ourts are

not to interpret any clause as being superfluous.”). Belford’s reading of the OCA fails to harmonize

all of its provisions and renders certain provisions of the OCA superfluous. For example, Section 4

of the OCA states, in relevant part, that:

           “[Belford] acknowledge[s] and agree[s] that [his] receipt of the cash payment
           with respect to [his] In the-Money Options . . . will constitute full satisfaction
           of [his] rights with respect to the canceled Options and that [he] will have no
           right to any other payments or any other rights with respect to [his] Options or
           [his] Option agreement after the Effective Time . . .”

(Mot. Ex. 1 at § 4, emphasis added.) The inclusion of this language underscores that the OCA only

terminated Belford’s rights under the Option Agreement, and did not terminate his obligations.


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Moreover, it shows that Belford’s proposed expansive reading of the provision does not make sense

when read in context with the rest of the OCA. The release in Section 4 only extends one way: from

Belford to American Freight. That the OCA does not include a corresponding release of American

Freight’s rights and claims against Belford, or Belford’s obligations to American Freight, further

illustrates that the OCA was not intended to waive or release American Freight’s rights (or Belford’s

obligations) under the Option Agreement. If the parties had intended and agreed upon a mutual

release, they could have easily drafted language to effect that result. Under Belford’s reading,

however, the language in the OCA specifying that his rights under the Option Agreement were

terminated cannot be harmonized with his argument that not only his rights but also his obligations

and American Freight’s rights were terminated.

        Fourth, in order for American Freight to waive its rights under the Option Agreement, the

OCA would have had to include language expressly doing so. See, e.g., DLJ Mortg. Cap. Corp. v.

Fairmont Funding, Ltd., 920 N.Y.S.2d 1, 2 (App. Div. 2011) (holding that defendant failed to establish

that plaintiff waived right where no “express waiver in writing” existed). There is no such language

in the OCA. Moreover, in order to terminate and supersede the Option Agreement, the OCA would

need to have explicit language that it meant to do so, and it has no such language. “[A] subsequent

contract not pertaining to ‘precisely the same subject matter’ will not supersede an earlier contract

unless the subsequent contract has definitive language indicating it revokes, cancels or supersedes that

specific prior contract.” CreditSights, Inc. v. Ciasullo, No. 05 CV 9345 (DAB), 2007 WL 943352, at

*6 (S.D.N.Y. Mar. 29, 2007); see also Globe Food Servs. Corp. v. Consol. Edison Co. of N.Y., Inc.,

584 N.Y.S.2d 820, 821 (App. Div. 1992) (agreement purportedly cancelling all prior agreements did

not supersede the prior agreements “in the absence of more definitive language such as that contained

in contracts held to have such an effect as a matter of law”).5 Indeed, a case cited by Belford, Penguin


5
 To the extent Belford claims that American Freight somehow waived its rights, a similar analysis would apply. See
Randolph Equities, LLC v. Carbon Cap., Inc., 648 F. Supp. 2d 507, 516 (S.D.N.Y. 2009) (holding that waiver requires a
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Group (USA) Inc. v. Steinbeck, also shows that the language in the OCA does not supersede the Option

Agreement. See 537 F.3d 193 (2d Cir. 2008). Unlike the OCA at issue here, the 1994 agreement at

issue in Steinbeck expressly provided that, “when signed by Author and Publisher, [it] will cancel and

supersede the previous agreements, as amended, for the [works] covered hereunder.” Id. at 196

(applying New York law). The OCA does not contain any such provision expressly superseding the

Option Agreement, which further supports an argument that the Option Agreement’s provisions not

addressed in the OCA are still in full force and effect.

         Finally, Belford’s proposed reading of the provision is inconsistent with the transaction that

the OCA was drafted to effect. Although Belford argues that American Freight’s reading of Section

4 leads to an “absurd result,” he offers no explanation as to how or why American Freight’s

interpretation is “absurd.” (Mot. at 11.) In fact, the converse is true. Adopting Belford’s reading of

the OCA would require the Court to find that American Freight paid him almost $15 million dollars

for stock options that he was granted in exchange for agreeing to restrictive covenants, and at the same

time, terminated those same restrictive covenants for no consideration whatsoever. Such a reading is

nonsensical on its face. Belford also argues that “American Freight failed to bargain for the survival

of those restrictive covenants when it negotiated the OCA with Belford.” (Mot. at 7-8.) But American

Freight was not required to bargain for the survival of the restrictive covenants because, by their plain

terms, they continued to apply for two years after Belford no longer held options unless the parties

expressly agreed otherwise. Consequently, Belford would have had to bargain for his restrictive

covenant obligations to be terminated. He did not, and instead, according to his argument, he received

a $15 million windfall in connection with the purported termination of those obligations. The Court

should reject this patently absurd result.6


clean manifestation of intent to relinquish a right). Whether a party had the intent to waive is typically a matter of fact,
and would not be appropriately determined on a motion to dismiss. Id.
6
  See, e.g., Reape v. N.Y. News, Inc., 504 N.Y.S.2d 469, 470 (App. Div. 1986) (“[W]here a particular interpretation would
lead to an absurd result, the courts can reject such a construction in favor of one which would better accord with the
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          B.       Any Ambiguity in the Language of the OCA Would Preclude Dismissal

         Belford incorrectly argues that if the Court deems the OCA ambiguous, then the Court must

construe it against American Freight. (Mot. at 11-12.) But the case law is clear that “[o]n a motion

to dismiss, all ambiguities must be resolved in Plaintiffs’ favor.” Serdarevic v. Centex Homes, LLC,

760 F. Supp. 2d 322, 333 (S.D.N.Y. 2010) (denying motion to dismiss where plaintiff’s interpretation

of ambiguous phrase was not implausible). In any event, even if the Court were to agree with Belford

that the relevant language in the OCA is ambiguous (it is not), then the meaning of the provision

would be a question of fact that would preclude the dismissal of the breach of contract claims against

Belford. See, e.g., Grant & Eisenhofer, P.A. v. Bernstein Liebhard LLP, No. 14-CV-9839 JMF, 2015

WL 1809001, at *3 (S.D.N.Y. Apr. 20, 2015) (“‘[W]hen the language of a contract is ambiguous, its

construction presents a question of fact, which of course precludes summary dismissal’ on a Rule

12(b)(6) motion.”).

II.       THE COMPLAINT STATES A CLAIM FOR TORTIOUS INTERFERENCE

         Belford argues that American Freight’s tortious interference claim must be dismissed for two

reasons. First, Belford claims that American Freight fails to plead “any facts” to support its claim.

(Mot. at 13.) This is plainly incorrect. Second, Belford insists that any “alleged interference was not

‘improper’” under a fact intensive seven-part balancing test. But Belford badly misconstrues the law

governing claims for tortious interference with contracts, and the Court should reject his arguments.

         To state a claim for tortious interference, a plaintiff needs to allege “(1) the existence of a

contract, (2) the wrongdoers’ knowledge of the contract, (3) the wrongdoer’s intentional procurement

of the contract’s breach, (4) lack of justification, and (5) resulting damages.” Kenty v. Transamerica

Premium Ins. Co., 650 N.E.2d 863, 866 (Ohio 1995). The Complaint satisfies each element. First,

Plaintiff alleges that the former American Freight employees are bound by contracts containing non-


reasonable expectations of the parties.”); Greenwich Cap. Fin. Prods., Inc. v. Negrin, 903 N.Y.S.2d 346, 348 (App. Div.
2010) (“[A] contract should not be interpreted to produce a result that is absurd [and] commercially unreasonable . . .”).
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compete and non-solicitation provisions, among other restrictive covenants. (See, e.g., Compl. ¶¶ 37,

81–88, 233–36.) Second, Plaintiff alleges that Belford, who served as a director at American Freight,

“know[s] of the existence and terms of these contractual obligations.” (Compl. ¶¶ 37, 235.) Belford’s

position on the board of directors and his own, similar agreements with American Freight also permit

the Court to infer that he knew about the restrictive covenants in the employees’ contracts. See, e.g.,

Miami Valley Mobile Health Servs., Inc. v. ExamOne Worldwide, Inc., 852 F. Supp. 2d 925, 931 (S.D.

Ohio 2012) (court must “indulge all reasonable inferences that might be drawn from the pleading” in

plaintiff’s favor on a motion to dismiss). Third, the Complaint alleges that Belford knowingly induced

and caused former American Freight employees to breach their contracts with Plaintiff when he

recruited them work at a direct competitor. (See, e.g., Compl. ¶¶ 5, 79, 81, 95, 236). Belford protests

that the Complaint fails to offer details about Plaintiff’s allegation that Belford was aware of or

involved in the coordinated poaching campaign, but he is incorrect here too. “[T]he focus [on a motion

to dismiss] is whether the plaintiff is entitled to offer evidence to support [its] claim,” but the

“complaint need not set down in detail all the particularities.” Miami Valley, 852 F. Supp. 2d at 930-

31. This is particularly true here, where the misconduct was secretive and there was no way for

American Freight to obtain more detailed evidence before discovery. The Complaint’s allegation that

Belford directed and coordinated the poaching campaign, and thereby caused numerous former

American Freight employees to breach their contracts with the company (See, e.g., Compl. ¶¶ 5, 79,

81, 95, 236), is sufficient to plead a tortious interference claim as a matter of law. Miami Valley, 852

F. Supp. 2d at 942-43. Belford does not dispute that Plaintiff sufficiently pled the fifth element of its

tortious interference claim, damages. (Mot. at 12-15; see also Compl. ¶¶ 89-94.)

       Belford’s other argument to dismiss the tortious interference claim addresses the fourth

element, lack of justification, which goes to whether Belford’s alleged interference with the former

employees’ contracts was “improper.” See Paramount Farms Int’l, L.L.C. v. Ventilex B.V., 61 N.E.3d


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702, 707 (Ohio Ct. App. 2016). Belford argues in the Motion that his alleged interference could not

be improper because it constituted “otherwise lawful economic competition.” (Mot. at 14.) But the

question of whether Belford’s interference was justified as a matter of lawful competition, under the

law of this Circuit, requires the application of a fact-intensive seven-part test. See, e.g., Fred Siegel

Co., L.P.A. v. Arter & Hadden, 707 N.E.2d 853, 860 (Ohio 1999). It is inappropriate at the pleading

stage to seek dismissal of the claim on this basis. Indeed, all the cases Belford cites on this point are

rulings on summary judgment, not on motions to dismiss. (Mot. at 14-15 (citing Baseball at

Trotwood, LLC v. Dayton Pro. Baseball Club, No. C-3-98-260, 2003 WL 25566103 (S.D. Ohio Sept.

2, 2003); Fred Siegel Co., L.P.A., 707 N.E.2d 853; Miller v. Pennitech Indus. Tools, Inc., Case No.

2356-M, 1995 WL 230894, at *1 (Ohio Ct. App. Apr. 19, 1995))).7

III.       PLAINTIFF’S UNJUST ENRICHMENT CLAIM SHOULD NOT BE DISMISSED

           Belford argues that the Court should dismiss American Freight’s unjust enrichment claim

    because it is duplicative of its breach of contract claim under the Option Agreement. (Mot. at 15-

    16.) Belford misstates the law. Fed. R. Civ. P. 8(d)(3) expressly permits Plaintiff to plead “as

    many claims as it has, regardless of consistency.” Miami Valley, 852 F. Supp. 2d at 939. Courts

    only dismiss unjust enrichment claims when a contract undisputedly governs the parties’

    relationship, rendering the claims duplicative. See, e.g., Smith v. Fifth Third Bank, Case No. 1:18-

    CV-464, 2019 WL 1746367, at *13 (S.D. Ohio Apr. 18, 2019), report and recommendation


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  Regardless, the “economic competition” privilege Belford invokes here does not justify his tortious interference, as the
Ginn v. Stonecreek Dental Care case shows. See 30 N.E.3d 1034 (Ohio Ct. App. 2015). In Stonecreek Dental, a dentist
named Dr. Ginn sued a competing dental practice for tortiously interfering with a contract that Dr. Ginn had entered into
with another dentist, Dr. Martin. Id. When Dr. Ginn acquired Dr. Martin’s dental practice, they entered into a sales
contract that specifically restricted Dr. Martin from competing with Dr. Ginn for five years. Id. at 1037. Another dental
practice, Stonecreek Dental, knew about their non-compete agreement but nevertheless hired Dr. Martin about one year
after he sold his practice. Id. at 1041, 1046. As Stonecreek Dental explains, the seven-factor balancing test “establish[es]
a privilege of fair competition that will defeat a claim of tortious interference with a contract when the contract is
terminable at will.” Id. at 1045 (emphasis added). However, “[r]estrictive clauses utilized in a covenant not to compete
are not terminable at will by definition as there is a specific time period stated during which a party may not compete.”
Id. at 1046 (reversing directed verdict entered for Stonecreek Dental on the basis of competitor’s privilege). Like the
restrictive covenants at issue in Stonecreek Dental, the former employees’ restrictive covenants bind them for a specified
time period of two years (or more in the event that the covenant is tolled due to a breach). Therefore, Belford cannot
invoke the “fair competition” privilege to justify his misconduct.
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 adopted, No. 1:18-CV-464, 2019 WL 4050946 (S.D. Ohio Aug. 28, 2019). However, Belford has

 argued that the OCA terminated the Option Agreement and that it is therefore unenforceable

 against him; indeed, that argument is the entire basis for his motion to dismiss Plaintiff’s contract

 claims. (Mot. at 5-12.) Courts do not dismiss unjust enrichment claims as duplicative when the

 parties dispute whether the contract at issue is valid and enforceable. See Miami Valley, 852 F.

 Supp. 2d at 939 (denying motion to dismiss unjust enrichment claim where “it [was] not clear at

 this point whether Defendant concedes [that the contract was valid and enforceable]”). Belford

 cannot have it both ways. Plaintiff’s unjust enrichment claim is not duplicative unless and until

 Belford concedes (or this Court finds) that the Option Agreement governs this issue and is

 enforceable against him. Accordingly, the Court should not dismiss the unjust enrichment claims.

 See id.

 IV.       THE COMPLAINT STATES A CLAIM FOR VIOLATION OF THE OUTSA AND
           DTSA AND THESE CLAIMS SHOULD NOT BE DISMISSED

       Belford argues that Plaintiff’s claims for misappropriation of trade secrets should be dismissed

because: (1) American Freight’s business information described in the Complaint is not protectable

as trade secrets; and (2) American Freight failed to take adequate precautions to guard the

confidentiality of its alleged trade secrets. These arguments fail.

   A. American Freight’s Business Information Is Protectable as a Trade Secret

       Under Ohio law, “[w]hether information qualifies as a trade secret is ordinarily ‘a question of

fact to be determined by the trier of fact upon the greater weight of the evidence.’” DeBoer Structures

(U.S.A.) Inc. v. Shaffer Tent & Awning Co., 233 F. Supp. 2d 934, 948 (S.D. Ohio 2002) (quoting Fred

Siegel Co., L.P.A, 707 N.E.2d 853). Likewise, as the Sixth Circuit recently noted, district courts in

this circuit have also found that the “trade secret” element of trade secret misappropriation claims

under the DTSA “raise fact questions reviewed under the clear-error standard.” RGIS, LLC v. Gerdes,

817 F. App’x 158, 162 (6th Cir. 2020) (emphasis added); see also, e.g., PSC Indus., Inc. v. Johnson,

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No. 3:19-CV-00362, 2021 WL 1663574, at *14 (M.D. Tenn. Apr. 28, 2021) (denying motion for

summary judgment because dispute over whether certain information was “confidential” under DTSA

and state law presented genuine dispute of material fact); Prudential Def. Sols., Inc. v. Graham, 498

F. Supp. 3d 928, 937-38 (E.D. Mich. 2020) (finding that Plaintiff stated valid claim under DTSA

because existence of trade secret is a fact-specific inquiry); C-Ville Fabricating, Inc. v. Tarter, No.

5:18-CV-379-KKC, 2019 WL 1368621, at *13 (E.D. Ky. Mar. 26, 2019) (“the determination of

whether certain information constitutes a trade secret [under the DTSA] is a fact-based inquiry”).

       In any event, Ohio courts consistently recognize that information similar to that which

American Freight identified as trade secrets is protectable as such. American Freight adequately

identifies its trade secrets, which are defined as its Confidential Information and Trade Secrets in the

Complaint. (Compl. ¶¶ 100-01, 107.) Ohio courts have recognized that pricing, sales, and marketing

strategies, financial plans, marketing plans, the strengths and weaknesses of products, customer needs

and preferences, customer retention programs, and compensation structures for sales people all can be

protected as trade secrets. See, e.g., FirstEnergy Sols. Corp. v. Flerick, No. 5:12-cv-2948, 2012 WL

6649201, at *3 (N.D. Ohio Dec. 20, 2012); Dayton Superior Corp. v. Yan, No. 3:12-cv-380, 2012 WL

5497804, at *7 (S.D. Ohio Nov. 13, 2012); Litig. Mgmt., Inc. v. Bourgeois, No. 95730, 2011 WL

2270553, at *3 (Ohio Ct. App. June 9, 2011); Kemper Mortg., Inc. v. Russell, No. 3:06-cv-042, 2006

WL 4968120, at *5 (S.D. Ohio May 4, 2006). The Sixth Circuit applying the DTSA has similarly

recognized that a company’s confidential business information, such as its strategic future planning,

customer service levels, recruitment strategy, business development strategy, regional pricing

strategy, and margins, is protectable as trade secrets. RGIS, LLC, 817 F. App’x at 162. Therefore,

American Freight’s Confidential Information and Trade Secrets are protectable.

       Belford seeks to support his incorrect assertion that American Freight trade secrets are not

protectable by citing to A&P Tech., Inc. v. Lariviere, Case No. 1:17-cv-534, 2017 WL 6606961 (S.D.


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Ohio Dec. 27, 2017). (Mot. 17.) But Belford fails to provide adequate context for A&P Technology.

First, Belford notes that a list of categories of business information in A&P Tech. similar to American

Freight’s was not a list of actual trade secrets in that case. Id. However, the trade secrets in A&P

Tech. were considered in the context of the defendant’s motion for identification of the plaintiff’s

trade secrets before allowing any discovery. Id. at *7-9. This Court rightly indicated that in prior

cases favoring pre-discovery identification of trade secrets, “identification was required before the

discovery of any of the defendants’ trade secrets, but was not required before any discovery could

occur.” Id. at *9 (emphasis added). Therefore, the plaintiff’s identification of its trade secrets was

not required to adequately plead its trade secret misappropriation claim. Here, to survive a motion to

dismiss, American Freight has sufficiently identified what is defined as its Confidential Information

and Trade Secrets. See, e.g., RGIS, LLC, 817 F. App’x at 162.

       Second, Belford argues that “[t]erms such as ‘engineering,’ ‘research and development

procedures and materials,’ and ‘marketing materials’ . . . do not in any way allow [d]efendants to

properly craft a defense around the alleged misappropriation of trade secrets.” A&P Tech., Inc., 2017

WL 6606961, at *10. Belford relies on Water Management, Inc. v. Stayanchi, 472 N.E.2d 715 (Ohio

1984) as an example where the plaintiff’s engineering and marketing techniques were not granted

trade secret protection. (Mot. 17.) But Belford fails to provide any context as to why such information

was not protectable as trade secrets there. The Supreme Court of Ohio noted that the information at

issue was typically known to those in the waste water treatment field, and that these findings were

made at the trial level based on evidence. Water Mgmt., Inc., 472 N.E.2d at 718. Here, there is no

indication that its trade secrets are typically known by those in the retail furniture industry. To the

contrary, American Freight alleges that its Confidential Information and Trade Secrets are not

typically known by those in the retail industry due to the competitive value they provide American




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Freight and the measures American Freight takes to protect their confidentiality. (Compl. ¶¶ 102-03.)

To the extent this is disputed, it is a question of fact that cannot be resolved on a motion to dismiss.

    B. American Freight Took Adequate Precautions to Protect Its Trade Secrets

        American Freight has sufficiently pled that it took reasonable measures to maintain the secrecy

of its trade secrets. American Freight indicated that its employees are required to agree to non-

competition and confidentiality agreements, which prohibit the disclosure of American Freight’s

Confidential Information and Trade Secrets and provide that all such information must be returned to

American Freight upon termination of the agreement. (Compl. ¶ 103.) In addition, American Freight

protects its Confidential Information and Trade Secrets by storing it on a secure server, limiting access

to such information to a limited number of authorized personnel on a need-to-know basis, requiring

user IDs and passwords to access American Freight’s computer system, locking up confidential

document or shredding confidential documents upon disposal, requiring key or key card access to

American Freight’s facilities, and limiting visitors’ access to American Freight’s offices. (Id.)

Accordingly, American Freight has sufficiently alleged this element of the claim.

        Belford’s sole argument that American Freight failed to take adequate steps to maintain the

secrecy of its alleged trade secrets is that the OCA terminated the restrictive covenants. (Mot. 19.)

However, as discussed above, American Freight did not terminate the restrictive covenants, and they

are still in effect. To the extent that there is any ambiguity as to whether the restrictive covenants are

in effect, that is a question of fact that is not appropriately addressed in a motion to dismiss. See, e.g.,

Dolansky v. Frisillo, 939 N.Y.S.2d 210, 212 (App. Div. 2012). (“[W]hether a contract has been

terminated or cancelled by mutual agreement is generally a question of fact for the jury where the

evidence is conflicting.”).

                                            CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests that the Court deny Belford’s

Motion to dismiss in its entirety.
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                                      Respectfully submitted,

                                       By: /s/ David J. Butler

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                                    CERTIFICATE OF SERVICE
         The undersigned hereby certifies that a copy of the foregoing Plaintiff American Freight, LLC’s
Memorandum of Law in Opposition to Defendant David Belford’s Motion to Dismiss was filed via the Clerk
of this Court’s CM/ECF system and served upon all counsel of record this first day of June 2021.


                                                        /s/ David J. Butler
                                                        David J. Butler




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